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                             UNITED STATES DISTRICT COURT 
                                DISTRICT OF MINNESOTA 
         

 FINAL EXIT NETWORK, INC.,                           Case No. 18‐cv‐01025 (NEB/ECW) 
 FRAN SCHINDLER, and JANET                                               
 GROSSMAN,                                                               
                                                                         
                      Plaintiffs,                                        
                                                                      
 v.                                                    ORDER ON DEFENDANTS’  
                                                        MOTIONS TO DISMISS 
 KEITH ELLISON, in his official capacity 
 as the Attorney General of Minnesota, 
 JAMES C. BACKSTROM, in his official 
 capacity as the Dakota County Attorney, 
 and JOHN L. FOSSUM, in his official 
 capacity as the Rice County Attorney, 
  
                      Defendants. 
         
        
       Plaintiff  Final  Exit  Network,  Inc.  (“FEN”)  provides  information,  education,  and 

emotional  support  to  people  who  are  considering  whether  to  terminate  irremediable 

suffering by ending their lives. [ECF No. 59 (“2d Am. Compl.”), at ¶10.] The individual 

plaintiffs Fran Schindler (“Schindler”) and Janet Grossman (“Grossman”) are volunteer 

“Exit Guides” for FEN. (Id., ¶¶17–18.) The Plaintiffs seek a declaratory injunction against 

defendants  Keith  Ellison  in  his  official  capacity  as  the  Minnesota  Attorney  General1 




                                                        
1 On January 7, 2019, counsel for the Attorney General informed the Court that pursuant 

to Fed. R. Civ. P. 25(d), Keith Ellison, Attorney General of Minnesota, is substituted for 
Lori Swanson as the proper defendant in this action. [ECF No. 60.] 
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(“Attorney General”), James C. Backstrom in his official capacity as the Dakota County 

Attorney (“Backstrom”), and John L. Fossum in his official capacity as the Rice County 

Attorney (“Fossum”), that Minnesota Statute § 609.215, subd. 1 is unconstitutional on its 

face “to the extent it ... makes a crime of First Amendment‐protected speech in the absence 

of any physical assistance.” (Id., ¶2.)  

       This matter is before the Court on the Defendants’ motions to dismiss. [ECF Nos. 

22, 34, and 42.] Prior to the hearing on these motions, the Plaintiffs informed the Court 

that  the  parties  agreed  to  strike  portions  of  the  Amended  Complaint  to  correct  a 

misstatement  of  fact.  [ECF  No.  56.]  At  the  hearing  on  November  20,  2018,  the  parties 

agreed  that  the  Plaintiffs  would  file  the  Second  Amended  Complaint,  and  that  the 

arguments  presented  would  apply  to  the  yet‐to‐be‐filed  Second  Amended  Complaint. 

Thus, per the parties’ agreement, this Order applies to the Second Amended Complaint 

filed on December 4, 2018 [ECF No. 59 (2d Am. Compl.)]. See Cartier v. Wells Fargo Bank, 

N.A.,  547  Fed.  App’x  800,  803–04  (8th  Cir.  2013)  (holding  that  the  district  court  acted 

within its discretion to treat the motion to dismiss the original complaint as a motion to 

dismiss a later filed amended complaint where parties did not object). For the reasons 

that follow, the Defendants’ motions to dismiss are granted. 

        

        

        



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                                         BACKGROUND 

       Minn. Stat. § 609.215, subd. 1 provides that that “[w]hoever intentionally advises, 

encourages,  or  assists  another  in  taking  the  otherʹs  own  life”  may  be  sentenced  to 

imprisonment, or to payment of a fine, or both. Minn. Stat. § 609.215, subd. 1. 

       In  the  Second  Amended  Complaint,  the  Plaintiffs  describe  the  action  as  a 

“preenforcement challenge to the facial constitutionality of Minn. Stat. § 609.215, subd. 1 

… under the First Amendment to the United States Constitution.” (2d Am. Compl., ¶1.) 

Though this action is a preenforcement action, two state court criminal cases have arisen 

from enforcement of the challenged statute, and explanation of those cases is necessary 

for a full understanding of the arguments made by the parties in this federal case. First is 

State v. Melchert‐Dinkel, 844 N.W.2d 13 (Minn. 2014), in which the Minnesota Supreme 

Court struck down portions of the statute under the First Amendment, but left portions 

of it intact. Second is State v. Final Exit Network, Inc., 889 N.W.2d 296, 302 (Minn. Ct. App. 

2016),  in  which  the  Minnesota  Court  of  Appeals  considered  FEN’s  constitutional 

challenge to certain remaining portions of the statute and followed the Melchert‐Dinkel 

precedent. 

       State  v.  Melchert‐Dinkel.  In  2011,  the  Rice  County  Attorney  successfully 

prosecuted William Melchert‐Dinkel for violating the challenged statute. Melchert‐Dinkel, 

844 N.W.2d at 17–18. Posing as a depressed and suicidal young female nurse, Melchert‐

Dinkel responded to posts on suicide websites, feigning caring and understanding to win 



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the trust of victims while encouraging them to hang themselves, while also attempting to 

persuade them to allow him to watch the hangings via webcam. Id. at 16. Melchert‐Dinkel 

was tried in the Rice County District Court and convicted on two counts of aiding suicide 

under Minn. Stat. § 609.215, subd. 1. Id. at 17. The district court specifically found that 

Melchert‐Dinkel “’intentionally advised and encouraged’ [two victims] to take their own 

lives,  concluding  that  the  speech  at  issue  fell  outside  the  protections  of  the  First 

Amendment.” Id. at 17–18 (emphasis in original). On appeal, Melchert‐Dinkel argued that 

the challenged statute violates the First Amendment on its face, and the Minnesota Court 

of  Appeals  held  that  the  statute  prohibits  speech  that  is  unprotected  by  the  First 

Amendment. Id. at 18 (citing State v. Melchert‐Dinkel, 816 N.W.2d 703, 714 (Minn. Ct. App. 

2012)). The Minnesota Supreme Court upheld the “assists” portion of the statute, even if 

“assists” consists only of speech. See id. at 22–23. In upholding the “assists” prohibition 

as constitutional, the Minnesota Supreme Court interpreted “assists” to include “speech 

or conduct that provides another person with what is needed for the person to commit 

suicide.”  Id.  at  23.  The  Court  explained,  “[t]his  signifies  a  level  of  involvement  in  the 

suicide  beyond  merely  expressing  a  moral  viewpoint  or  providing  general  comfort  or 

support. Rather, ‘assist,’ by its plain meaning, involves enabling the person to commit 

suicide.” Id. “While enablement perhaps most obviously occurs in the context of physical 

assistance, speech alone may also enable a person to commit suicide. Here, we need only 




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note  that  speech  instructing  another  on  suicide  methods  falls  within  the  ambit  of 

constitutional limitations on speech that assists another in committing suicide.” Id. 

          Prohibiting  only  speech  that  assists  suicide,  combined  with  the  statutory 
          limitation that such enablement must be targeted at a specific individual, 
          narrows the reach to only the most direct, causal links between speech and 
          the  suicide.  We  thus  conclude  that  the  proscription  against  “assist[ing]” 
          another in taking the other’s own life is narrowly drawn to serve the State’s 
          compelling interest in preserving human life. We therefore reject Melchert‐
          Dinkel’s argument that the statutory prohibition against assisting another 
          in committing suicide facially violates the First Amendment. 
           
Id.   

          The Minnesota Supreme Court then analyzed the prohibition against “advis[ing]” 

and “encourag[ing]” another to commit suicide. Id. at 23–24. Concluding that “[u]nlike 

the definition of ‘assist,’ nothing in the definitions of ‘advise’ or ‘encourage’ requires a 

direct, causal connection to a suicide,” the Court determined that the terms do not survive 

strict scrutiny. Id. at 23–25. The Court thus severed and excised the portions of Minn. Stat. 

§ 609.215 that pertain to advising or encouraging, but left intact the ”assist[ing]“ portions 

of the statute. Id.  

          State v. Final Exit Network, Inc. In 2015, the Dakota County Attorney successfully 

prosecuted  FEN  as  an  organization  for  violating  the  challenged  statute  (“FEN  state 

action”).  889  N.W.2d  at  302.  There,  a  Final  Exit  “first  responder”  provided  Final  Exit 

members who wished to end their life with instructions on death by helium asphyxiation 

and the names and addresses of manufacturers who sell the hood used to commit suicide 

in that manner. Id. at 300. In the FEN state action, D.D., who suffered from chronic pain, 


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applied for membership and requested “exit services” from FEN in January 2007. Id. D.D. 

was approved for exit services in February 2007, and a few months later, the Final Exit 

medical director and D.D.’s Exit Guide flew to Minneapolis and drove to D.D.’s home. 

Id. at 300‐01. The necessary equipment for helium asphyxiation was in D.D.’s living room, 

and neither the medical director nor the guide touched the equipment. When she was 

ready, D.D. placed the hood on her head and turned the valves to the helium tank. Id. 

D.D. then died, the medical director checked her pulse to ensure she had died, and the 

medical  director  and  Exit  Guide  removed  the  hood  from  D.D.,  left  her  home,  and 

disposed of the equipment in a dumpster. Id. FEN was convicted of assisting another in 

taking the other’s own life in violation of Minn. Stat. § 609.215, subd. 1. Id. at 302. After 

conviction, FEN appealed, raising both facial and as‐applied First Amendment freedom‐

of‐speech challenges to the statute. Id. The Minnesota Court of Appeals noted that the 

Minnesota  Supreme  Court  in  Melchert‐Dinkel  “interpreted  the  term  ‘assists’  as 

‘proscrib[ing] speech or conduct that provides another person with what is needed for 

the  person  to  commit  suicide’  or  ‘enabl[ing]  the  person  to  commit  suicide.’”  Id.  at  302 

(quoting Melchert‐Dinkel, 844 N.W.2d at 23). The Court of Appeals determined that the 

“assists” provision in the statute is not facially unconstitutional under Melchert‐Dinkel.  

       The  Minnesota  Supreme  Court  concluded  in  Melchert‐Dinkel  that  the 
       statute’s  “assists”  prohibition  is  a  content‐based  restriction  and  survives 
       strict scrutiny under the First Amendment. 844 N.W.2d at 21–23. The court 
       concluded  that  the  government  has  a  compelling  interest  in  preserving 
       human life and preventing suicide. Id. at 22 (citing Washington v. Glucksberg, 
       521 U.S. 702, 728–34 [] (1997)). The court further concluded that the statute 


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       is narrowly tailed to effectuate this compelling interest. By its reference to 
       assisting  “another,”  the  statute  only  reaches  “targeted  speech  aimed  at  a 
       specific  individual.”  Id.  at  22.  In  addition,  “assists”  further  narrows  the 
       statute’s  reach  by  criminalizing  only  speech  that  “enable[s]  a  person  to 
       commit suicide” or “instruct[s] another on suicide methods.” Id. at 23. For 
       these reasons, the Minnesota Supreme Court concluded that the statutory 
       prohibition  on  “only  speech  that  assists  suicide,  combined  with  the 
       statutory  limitation  that  such  enablement  must  be  targeted  at  a  specific 
       individual,” renders the statute narrowly tailored and linked to the state’s 
       compelling  interest  in  the  preservation  of  life.  Id.  The  statute’s  “assists” 
       provision thus survives strict scrutiny and  Final Exit’s facial challenge to 
       the statute. Id. 
        
Final Exit Network, 889 N.W.2d at 303.  

       The  Court  of  Appeals  also  rejected  FEN’s  as‐applied  challenge  to  the  statute 

finding  that  the  statute  was  constitutional  as  applied  to  the  specific  conduct  of  FEN’s 

representatives as to D.D., id. at 307, and that the statute was narrowly tailored to reach 

a compelling governmental interest in the preservation of human life. Id. at 303–07. The 

court noted that FEN “was not convicted for speech ‘tangential to the act of suicide.’” Id. 

at  307  (quoting  Melchert‐Dinkel,  844  N.W.2d  at  23–24).  Instead,  FEN  was  convicted  for 

“instructing  [D.D.]  on  suicide  methods,”  including  its  “preferred  inhalation  method,” 

and  then  on  the  day  of  D.D.’s  death,  FEN’s  representatives  observed  her  connect  the 

tubing to the helium tanks, and would have explained to her how to hook it up properly 

had  she  not  done  so.  Id.  Further,  the  FEN  representatives  ensured  D.D.  had  died, 

removed the equipment from her home, and disposed of it “to create the appearance of 

a  natural  death.”  Id.  Thus,  the  Court  of  Appeals  held,  “[i]n  the  context  of  the  specific 

circumstances presented in this case, the statute was applied to restrict [FEN’s] speech 


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instructing D.D. on suicide methods.” Id. (internal citation and quotation marks omitted). 

The Court of Appeals expressly provided that the statute does not prevent FEN “from 

expressing [its] ideas and messages in a number of other forums and ways.” Id. (citation 

omitted).  The  Minnesota  Supreme  Court  denied  FEN’s  petition  for  review,  and  the 

United States Supreme Court denied FEN’s petition for writ of certiorari. See Final Exit 

Network, Inc. v. Minn., 138 S. Ct. 145 (2017). 

       This federal action. Having lost the FEN state court action, this case, then, is FEN’s 

challenge  in  federal  court  to  the  portions  of  the  statute  left  intact  by  the  Minnesota 

Supreme Court after Melchert‐Dinkel. FEN’s Second Amended Complaint describes the 

action as a “preenforcement challenge to the facial constitutionality” of the statute. (2d 

Am.  Compl.,  ¶1.)  “[A]s  §  609.215,  subd.  1  has  been  authoritatively  interpreted  under 

Minnesota law, the word ‘assists’ criminalizes not only conduct, but alternatively ‘speech’ 

that ‘enables’ a ‘suicide.’ The plaintiffs challenge the facial constitutionality of Minnesota 

law to the extent it therefore makes a crime of First Amendment‐protected speech in the 

absence of any physical assistance.” (Id., ¶2.)  

       The  Second  Amended  Complaint  states  that  the  Plaintiffs,  both  FEN  and  the 

individuals, suffer an ongoing, concrete, particularized injury “inasmuch as they desire 

and intend to violate the Minnesota Statute as they carry out the same policies, protocols, 

and  practices  apply  [sic]  in  every  other  State  in  the  Union,  in  reliance  on  their  First 

Amendment‐protected  right  to  do  so,  and  are  threatened  with  arrest,  prosecution  and 



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punishment under Minnesota law for the exercise of their right to freedom of speech.” 

(Id., ¶6.) The Plaintiffs chose the Rice County Attorney and the Dakota County Attorney 

as  defendants  (together,  “County  Attorney  Defendants”)  because  they  prosecuted 

Melchert‐Dinkel and FEN in the cases described above. (Id., ¶7.) The Plaintiffs chose the 

Attorney  General  as  a  defendant  because  “[t]here  is  no  reason  to  believe  the  attorney 

general would decline to exercise [his] discretionary ability to assist in a prosecution or 

appeal under the Statute.” (Id.) 

       The Second Amended Complaint is short on particulars as to the plans made, if 

any, by FEN and the individual plaintiffs to “assist” a person’s suicide and thus violate 

the challenged statute. It states generally that “FEN provides information, education, and 

emotional  support  to  people  who  are  considering  whether  to  make  an  informed  and 

rational choice to terminate irremediable suffering.” (Id., ¶10.) Further, it alleges that “[a]s 

part of the Exit Guide program, the volunteers sometimes sit at a person’s bedside at the 

time of her or his death in the belief that few people wish to die alone.” (Id., ¶11.)  

       As  to  Plaintiff  Grossman,  the  Second  Amended  Complaint  states  that  she  is  a 

volunteer Exit Guide and that “FEN will probably contact Grossman about whether to 

accept  an  Exit  Guide  assignment  in  Minnesota.”  (Id.,  ¶17.)  It  does  not  indicate  what 

specifically Grossman would do to assist a suicide in the event she accepts an assignment 

in  Minnesota.  As  to  Plaintiff  Schindler,  the  Second  Amended  Complaint  is  a  bit  more 

specific, stating that Schindler is a volunteer Exit Guide and “has at least one ongoing 



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relationship with an Exit Guide client in Minnesota and plans to continue to serve this 

person.” (Id., ¶¶18, 19.) “She intends not to provide physical assistance or the means to 

the  person  in  Minnesota,  but  she  does  intend  to  give  information  in  violation  of  the 

Statute  when the person is ready. Schindler is considering whether  to  arrange for this 

person to travel to her home in North Carolina in order to provide counseling without 

running the risk of prosecution under the Minnesota Statute.” (Id., ¶19.) The Complaint 

does not specify the speech that Schindler believes will be “in violation of the Statute.” 

(Id.)  

          The  Plaintiffs  seek  a  declaration  that  Minn.  Stat.  §  609.215,  subd.  1  is  facially 

unconstitutional to the extent that it criminalizes speech that enables a suicide, and seek 

a permanent injunction barring the Defendants from enforcing this statute to the extent 

it criminalizes speech that enables a suicide. (Id., at 6.)  

          Each of the Defendants filed a motion to dismiss, arguing that (1) the Plaintiffs lack 

standing to bring this action, (2) the Attorney General is not the proper defendant under 

the Eleventh Amendment, (3) the Plaintiffs’ challenge to Minn. Stat. § 609.215, subd. 1 is 

barred by collateral estoppel, and (4) the Plaintiffs’ facial challenge fails on the merits.2 In 

addition, Fossum argues that (5) this action is not ripe for review and (6) the Court lacks 

subject matter jurisdiction based on the Rooker–Feldman doctrine. Backstrom argues that 

                                                         
2  Backstrom incorporates by reference the bases for dismissal set forth by the Attorney 


General. [ECF No. 35, at 2 n.1.] Fossum incorporates by reference the bases for dismissal 
set forth by the Attorney General and Backstrom. [ECF No. 43, at 2 n.1.] 


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(7)  the Plaintiffs  fail to state an official‐capacity §  1983 claim.  For the reasons  set forth 

below, the motions to dismiss are granted. 

                                               ANALYSIS 

I.      Rule 12(b)(6) Standard 

        When reviewing a motion to dismiss for failure to state a claim under Federal Rule 

of  Civil  Procedure  12(b)(6),  a  court  must  accept  as  true  all  factual  allegations  in  the 

complaint and draw all reasonable inferences in the nonmovant’s favor. Loeffler v. City of 

Anoka, 893 F.3d 1082, 1084 (8th Cir. 2018). Although the factual allegations need not be 

detailed, they must be sufficient to “raise a right to relief above the speculative level....” 

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). The complaint must 

“state a claim to relief that is plausible on its face.” Id. at 570. 

II.     Standing 

        The  Defendants  first  argue  that  the  Plaintiffs  lack  standing  to  challenge  the 

constitutionality  of  Minn.  Stat.  §  609.215,  subd.  1.  Standing  to  sue  is  a  jurisdictional 

requirement “rooted in the traditional understanding of a case or controversy.” Spokeo, 

Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016); see U.S. Const. art. III, § 2. The plaintiff bears 

the burden of establishing standing. Spokeo, 136 S. Ct. at 1547. When determining whether 

to dismiss a complaint for lack of standing, a court is to “constru[e] the allegations of the 

complaint,  and  the  reasonable  inferences  drawn  therefrom,  most  favorably  to  the 




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plaintiff.”  Glickert  v.  Loop  Trolley  Transp.  Dev.  Dist.,  792  F.3d  876,  880  (8th  Cir.  2015) 

(citations and quotation marks omitted). 

        “[S]tanding is not dispensed in gross.” Town of Chester, N.Y. v. Laroe Estates, Inc., 

137  S.  Ct.  1645,  1650  (2017)  (citations  omitted).  Rather,  “a  plaintiff  must  demonstrate 

standing for each claim he seeks to press and for each form of relief that is sought.” Id. 

(citations omitted). “At least one plaintiff must have standing to seek each form of relief 

requested in the complaint.” Id. at 1651. In this case, there has been some confusion over 

whether the Plaintiffs raise facial challenge, a facial overbreadth challenge, or both.3 The 

Court below addresses the Plaintiffs’ standing to bring each type of challenge.  

        A.      Standing to Bring Facial Challenge 

        The  Second  Amended  Complaint  states  that  it  challenges  the  “facial 

constitutionality” of Minn. Stat. § 609.215, subd. 1 to the extent that it criminalizes speech 

that enables a suicide. (2d Am. Compl., ¶¶1–2); see generally Ward v. Rock Against Racism, 

491 U.S. 781, 795–96 (1989) (“In evaluating a facial challenge to a state law, a federal court 

                                                         
3  In  their  response  briefs,  the  Plaintiffs  maintain  that  they  are  asserting  a  facial 
overbreadth challenge of Minn. Stat. § 609.215, subd. 1. (See, e.g., ECF No. 50 (“Pls.’ Resp. 
Br.”) at 17 (“The issue in this case is whether the Statute is facially unconstitutional as 
overbroad under the First Amendment.”) (emphasis added).) They argue that they “need 
not prove [a facial challenge under] Salerno” but rather, the facial overbreadth challenge. 
(Id. at 27 (citing United States v. Salerno, 481 U.S. 739, 745 (1987) (facial challenge), and 
Forsyth  Cty.,  Ga.  v.  Nationalist  Movement,  505  U.S.  123,  130  (1992)  (facial  overbreadth 
challenge).)  These  statements  indicate  that  the  Plaintiffs  raise  a  facial  overbreadth 
challenge, and not a facial challenge. But at the hearing, the Plaintiffs’ counsel claimed 
that  the  Plaintiffs  allege  a  facial  challenge,  and  alternatively  or  in  addition,  a  facial 
overbreadth challenge.  


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must ... consider any limiting construction that a state court or enforcement agency has 

proffered.”) (citation omitted). “‘Facial challenges are disfavored’ because they ‘often rest 

on speculation, [and] raise the risk of premature interpretation of statutes on the basis of 

factually barebones records.’” Josephine Havlak Photographer, Inc. v. Vill. of Twin Oaks, 864 

F.3d 905, 912 (8th Cir. 2017) (quoting Phelps‐Roper v. City of Manchester, Mo., 697 F.3d 678, 

685 (8th Cir. 2012)), cert. denied, 138 S. Ct. 986 (2018). To succeed on a facial challenge (as 

opposed  to  a facial  overbreadth  challenge),  a “challenger must  establish that  no set  of 

circumstances exists under which the [statute] would be valid,” Salerno, 481 U.S. at 745, 

“or  that  the  statute  lacks  any  plainly  legitimate  sweep.”  Phelps‐Roper,  697  F.3d  at  685 

(citation and quotation marks omitted). 

        The Defendants assert that the Plaintiffs lack standing to bring a facial challenge 

to the statute – often referenced as Article III standing. See Advantage Media, L.L.C. v. City 

of  Eden  Prairie,  456  F.3d  793,  799  (8th  Cir.  2006)  (Article III  standing  to  bring  a  First 

Amendment  free  speech  challenge  is  “an  inescapable  threshold  question”);  Mosby  v. 

Ligon, 418 F.3d 927, 932–33 (8th Cir. 2005) (litigants must satisfy “normal requirements” 

of Article III standing even when bringing facial challenges). To have Article III standing, 

a  plaintiff  “must  have  (1)  suffered  an  injury  in  fact,  (2)  that  is  fairly  traceable  to  the 

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable 

judicial  decision.”  Spokeo,  136  S.  Ct.  at  1547  (citations  omitted).  As  the  party  invoking 

federal jurisdiction, the Plaintiffs bear the burden of establishing these elements. See Lujan 



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v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). The parties contest the first two elements of 

Article  III  standing:  (1)  an  injury  in  fact  (2)  that  is  fairly  traceable  to  the  challenged 

conduct of the defendant.4  

                 1.     Injury in Fact 

          An alleged injury in fact must be “(a) concrete and particularized” and “(b) actual 

or imminent,” as opposed to “conjectural or hypothetical.” Lujan, 504 U.S. at 560 (citations 

and quotation marks omitted). Injury in fact for a First Amendment claim, however, is 

subject to a specific test:  

      To establish injury in fact for a First Amendment challenge to a state statute, 
      a  plaintiff  need  not  have  been  actually  prosecuted  or  threatened  with 
      prosecution. Rather, the plaintiff needs only to establish that he would like 
      to engage in arguably protected speech, but that he is chilled from doing so 
      by the existence of the statute. Self‐censorship can itself constitute injury in 
      fact. 
       
281 Care Comm. v. Arneson (“281 Care Comm. I”), 638 F.3d 621, 627 (8th Cir. 2011) (internal 

citations omitted). “The relevant inquiry is whether a party’s decision to chill his speech 

in  light  of  the  challenged  statute  was  ‘objectively  reasonable.’”  Id.  (citation  omitted). 

“Reasonable  chill  exists  when  a  plaintiff  shows  ‘an  intention  to  engage  in  a  course  of 

conduct arguably affected with a constitutional interest, but proscribed by [the] statute, 

and there exists a credible threat of prosecution.’” Id. (citation omitted). “[T]he threat of 




                                                           
4    The parties do not contest the third element of redressibility. 


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future  enforcement”  of  a  statute  is  “substantial”  where  “there  is  a  history  of  past 

enforcement.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164 (2014) (“SBA List”)).  

       Here,  the  Second  Amended  Complaint  alleges  that  “the  plaintiffs  are  forced  to 

choose  between  abandoning  their  First  Amendment‐protected  right  to  advise  people 

about their right to terminate irremediable suffering … and engaging in that speech and 

risking criminal prosecution” for violating Minn. Stat. § 609.215, subd. 1. (2d Am. Compl., 

¶8.) FEN was prosecuted for violating this statute. (See id., ¶12 (citing Final Exit Network, 

889 N.W.2d 296).) Since then, FEN “advises its Exit Guides of the danger of providing 

Exit  Guide  Services  in  Minnesota.  As  volunteers,  some  of  the  Exit  Guides  decline  to 

participate  in the Exit Guide program in Minnesota.” (Id., ¶15.) The Second Amended 

Complaint  also  alleges  that  “FEN’s  case  coordinators  have  observed  indications  that 

some Minnesotans have considered contacting FEN but did not because they have heard 

of  Minnesota’s  criminalization  of  FEN’s  Exit  Guide  services.  Others  call  and  become 

discouraged to the point of not calling back when they are advised of the unique danger 

of  providing  Exit  Guide  services  in  Minnesota.”  (Id., ¶16.)  The Court  finds  that  FEN’s 

prior prosecution under the challenged statute, and the alleged chilling effect on FEN’s 

volunteers, satisfy the injury in fact element as to FEN as an organizational plaintiff. 

       The  Defendants  bring  further  arguments  challenging  the  standing  of  the  two 

individual plaintiffs, who were added after the original Complaint. [See ECF Nos. 1, 20.] 

The Defendants argue that the Second Amended Complaint fails to establish any credible 



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threat of prosecution as to the two Exit Guides. “‘[S]ome day’ intentions—without any 

description of concrete plans, or indeed even any specification of when the some day will 

be—do not support a finding of the ‘actual or imminent’ injury that our cases require.” 

Lujan, 504 U.S. at 564 (citation omitted, emphasis in original). Indeed, “allegations of a 

subjective ‘chill’ are not an adequate substitute for a claim of specific present objective 

harm or a threat of specific future harm.” Balogh v. Lombardi, 816 F.3d 536, 542 (8th Cir. 

2016)  (citations  and  brackets  omitted);  see  281  Care  Comm.  I,  638  F.3d  at  627  (“[S]elf‐

censorship based on mere allegations of a ‘subjective’ chill resulting from a statute is not 

enough  to  support  standing,  and  ‘persons  having  no  fears  of  state  prosecution  except 

those that are imaginary or speculative, are not to be accepted as appropriate plaintiffs.’”) 

(citations omitted). According to the Plaintiffs, the Second Amended Complaint alleges a 

credible  threat  of  future  enforcement  of  Minn.  Stat.  § 609.215,  subd.  1  because  “past 

enforcement against the same conduct is good evidence that the threat of enforcement is 

not ‘chimerical.’” SBA List, 573 U.S. at 164 (citation omitted).  

       Individuals  have  been  charged  with  violating  the  challenged  statute  in  Rice 

County  and  Dakota  County.  (2d  Am.  Compl.  ¶7);  see  Melchert‐Dinkel,  844  N.W.2d  13 

(charges brought by Rice County Attorney); State v. Final Exit Network, Inc., Nos. A13‐

0563, 2013 WL 5418170, at *1–*2 (Minn. Ct. App. Sept. 30, 2013) (Dakota County Attorney 

charged two FEN Exit Guides). And the Defendants have not disavowed enforcement if 

the  individual  plaintiffs  engage  in  similar  conduct  in  the  future.  According  to  the 



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Plaintiffs, “there is every reason to think that similar speech in the future will result in 

similar proceedings.” SBA List, 573 U.S. at 163. 

       Given  that  both  individual  Exit  Guides  and  FEN  as  an  organization  have  been 

prosecuted in the past for speech that the Plaintiffs are allegedly chilled from engaging 

in  in  the  future,  the  Court  will  not  treat  FEN  and  the  individual  plaintiff  Exit  Guides 

differently for standing purposes. The individual plaintiff Exit Guides named here have 

more than “imaginary or speculative” fear of prosecution, have sufficiently alleged self‐

censorship such that the standing doctrine is met here by all Plaintiffs, not just FEN.5 281 

Care Comm. I, 638 F.3d at 627; see SBA List, 573 U.S. at 164; cf. Justice v. Hosemann, 771 F.3d 

285, 291 (5th Cir. 2014) (finding standing based on plaintiffs’ “legitimate fear of criminal 

penalties for failure to comply with” state disclosure laws where their “past enthusiastic 

participation in the political process” and membership in political organizations showed 

that,  if  not  for  the  disclosure  laws,  they  would  again  engage  in  political  activism  that 

implicated those laws). 




                                                        
5 Even if only FEN, and not the individual plaintiff Exit Guides, had standing, this Court 
would  still  have  subject  matter  jurisdiction  over  the  Second  Amended  Complaint.  See 
Sierra Club v. U.S. Army Corps of Engineers, 645 F.3d 978, 986 (8th Cir. 2011) (“only one 
plaintiff need show standing to support our subject matter jurisdiction”); Jones v. Gale, 
470 F.3d 1261, 1265 (8th Cir. 2006) (“where one plaintiff establishes standing to sue, the 
standing of other plaintiffs is immaterial to jurisdiction”). 


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                2.      Traceable Injury 

        Article III standing also “requires a showing that each defendant caused his injury 

and that an order of the court against each defendant could redress the injury.” Calzone 

v.  Hawley,  866  F.3d  866,  869  (8th  Cir.  2017);  see  Lujan,  504  U.S.  at  560  (a  plaintiff  must 

establish “a causal connection between the injury and the conduct complained of—the 

injury  has  to be  fairly  traceable to  the  challenged action of the defendant, and not  the 

result  of  the  independent  action  of  some  third  party  not  before  the  court.”)  (citation, 

quotation  marks  and  brackets  omitted).  “[W]hen  a  plaintiff  brings  a  pre‐enforcement 

challenge  to  the  constitutionality  of  a  particular  statutory  provision,  the  causation 

element of standing requires the named defendants to possess authority to enforce the 

complained‐of provision.” Calzone, 866 F.3d at 869 (citing Dig. Recognition Network, Inc. v. 

Hutchinson,  803  F.3d  952,  957–58  (8th  Cir.  2015)).  Whether  a  defendant  possesses 

enforcement authority sufficient for standing purposes turns on whether he has “some 

connection with the enforcement of [the] state law.” Dig. Recognition Network, 803 F.3d at 

957 (citation and quotation marks omitted).  

        As to the County Attorney Defendants, this element is met. The Second Amended 

Complaint  alleges  that  the  Plaintiffs’  injury  is  fairly  traceable  to  the  County  Attorney 

Defendants  because  Backstrom  and  Fossum  have  prosecuted  cases  based  solely  on 

speech that enables a suicide. (2d Am. Compl., ¶7.) The parties do not dispute that the 




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Second Amended Complaint alleges injury traceable to Backstrom and Fossum, as they 

both possess the authority to enforce the challenged statute, and have done so in the past. 

        The  Attorney General, however, presents  a more difficult  question. The Second 

Amended  Complaint  asserts  standing  because  “[t]here  is  no  reason  to  believe  the 

attorney  general  would  decline  to  exercise  her  discretionary  ability  to  assist  in  a 

prosecution  or  appeal  under  the  Statute.”  (Id.)  The  Attorney  General  argues  that  the 

Plaintiffs  cannot  show  injury  traceable  to  him  because  the  Attorney  General  did  not 

initiate or play any role in the County Attorney Defendants’ prosecutions. The Attorney 

General relies on Reproductive Health Services of Planned Parenthood of the St. Louis Region, 

Inc. v. Nixon, in which the Eighth Circuit held that the plaintiff had “shown no threat of 

irreparable  injury”  by  the  Missouri  attorney  general  where  “neither  the  Governor  nor 

any  state  trial  court  has  directed  the  Attorney  General  to  take  action  to  enforce”  the 

statute at issue there. 428 F.3d 1139, 1145 (8th Cir. 2005); see also Doe v. Pryor, 344 F.3d 

1282, 1285 (11th Cir. 2003) (holding that plaintiff had no standing where “the only injuries 

[plaintiff] has alleged stem from a state court custody proceeding in which the [Alabama] 

Attorney  General  played  no  role.  The  Attorney  General  has  taken  no  ...  ‘challenged 

action.’”).  

        In response, the Plaintiffs argue in passing that their claims fall within the Ex parte 

Young exception to Eleventh Amendment immunity, under which a suit for injunctive or 

declaratory relief avoids sovereign immunity if the state official has some connection to 



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the enforcement of the challenged law. [ECF No. 50 (“Pls.’ Resp. Br.”) at 12]; see Ex parte 

Young,  209  U.S.  123,  157  (1908).  Relying  on  Reproductive  Health  Services,  the  Attorney 

General  argues  that  the  Eighth  Circuit  has  analyzed  Eleventh  Amendment  immunity 

separately from that of traceable injury. 428 F.3d at 1145 (holding that attorney general 

fell  within  Ex  parte  Young  exception  to  Eleventh  Amendment  immunity,  but  that  the 

plaintiff showed no threat of irreparable injury by the attorney general because he had 

not been directed to enforce the statute). But Reproductive Health Services addressed the 

threat of irreparable injury in the context of a preliminary injunction, not standing. See 

281 Care Comm. I, 638 F.3d at 633 (distinguishing Reproductive Health Services’ preliminary 

injunction  determination  from  its  Ex  parte  Young  inquiry,  and  holding  “although  the 

connection was not strong enough to support the issuance of a preliminary injunction 

against the attorney general—it was strong enough to bring the attorney general into the 

Ex Parte Young exception and make him a potentially proper defendant”).  

       More recently, the Eighth Circuit has noted that “where state officials had ‘some 

connection  with  the  enforcement’  of  a  state  law  for  purposes  of  the  Ex  Parte  Young 

doctrine,  then  the  case  or  controversy  requirement  of  Article  III  was  satisfied.”  Dig. 

Recognition  Network,  803  F.3d  at  957  (citation  omitted);  see  Calzone,  866  F.3d  at  869–70 

(noting the standing and Ex parte Young “inquiries are similar” in a suit for injunctive or 

declaratory relief against state officials).  




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       The  Attorney  General  maintains  that  the  Amended  Complaint  contains  no 

allegation  that  the  Attorney  General  (1)  has  taken  any  action  to  enforce  Minn.  Stat. 

§ 609.215, subd 1, (2) has been asked by any county attorney to take any action to enforce 

the statute, or (3) has threatened to enforce the statute. But whether the Attorney General 

possesses enforcement authority sufficient for standing purposes does not require those 

three things. Instead, it turns on whether the Attorney General has “some connection” 

with the enforcement of the statute. Dig. Recognition Network, 803 F.3d at 957. The Second 

Amended  Complaint  states  that  the  County  Attorney  Defendants  are  vested  with  the 

authority to determine whether to prosecute a suspect under the challenged statute, and 

to initiate such prosecutions, and that the Attorney General “provides them with support 

and cooperation and conducts appeals from convictions under the Statute” and “is also 

authorized to serve as the stand‐in prosecutor in any instance in which a county attorney 

should  request  such  assistance.”  (2d  Am.  Compl.  ¶5);  see  Minn.  Stat.  §  8.01  (“Upon 

request of the county attorney, the attorney general shall appear in court in such criminal 

cases as the attorney general deems proper.”). Minn. Stat. § 609.215 also includes a civil 

enforcement provision. Minn. Stat. § 609.215, subd. 4(4) (“A cause of action for injunctive 

relief may be maintained against any person who is reasonably believed to be about to 

violate or who is in the course of violating this section by any person who is … a person 

authorized to prosecute or enforce the laws of this state”). The Eighth Circuit has found 

that similar allegations alleged a “three‐fold connection” between the Attorney General 



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and a statute sufficient to make the Attorney General amenable to suit under the Ex parte 

Young  exception.  281  Care  Comm. I,  638  F.3d  at  632‐33  (noting  that  “some  connection” 

between the attorney general and the challenged statute “does not need to be primary 

authority  to  enforce  the  challenged  law”).  Because  the  Second  Amended  Complaint 

alleges that the Attorney General has “some connection” with the enforcement of Minn. 

Stat. § 609.215, subd. 1, the Attorney General possesses enforcement authority sufficient 

for standing purposes. For these same reasons, the Court finds that the Ex parte Young 

exception to Eleventh Amendment immunity applies at this stage of the litigation.6 

       B.      Standing to Bring a Facial Overbreadth Challenge 

       In the context of the First Amendment, a statute may also be challenged as facially 

overbroad. The facial overbreadth doctrine “provides an avenue whereby a law may be 

invalidated as overbroad if a substantial number of its applications are unconstitutional, 

judged in relation to the statuteʹs plainly legitimate sweep.” Josephine Havlak, 864 F.3d at 



                                                         
6 The Court notes that the Ex parte Young exception does not apply when the state official 
“has  neither  enforced  nor  threatened  to  enforce  the  statute  challenged  as 
unconstitutional,” and that courts have applied Eleventh Amendment immunity where 
the official proffers evidence of his assurances not to enforce the challenged statute. 281 
Care Comm. v. Arneson (“281 Care Comm. II”), 766 F.3d 774, 797 (8th Cir. 2014) (finding 
immunity from suit where the attorney general proffered affidavit with assurances that 
the office would not take up its discretionary ability to assist in the prosecution of the 
statute at issue) (citations omitted). This case is not at that stage of litigation, marking a 
critical distinction between 281 Care Community I and 281 Care Community II. Compare 281 
Care  Comm.  I,  638  F.3d  at  626  (addressing  motion  to  dismiss  for  lack  of  subject  matter 
jurisdiction),  with  281  Care  Comm.  II,  766  F.3d  at  779  (addressing  motion  for  summary 
judgment). 


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912 (citations and quotation marks omitted). Courts generally do not apply the “’strong 

medicine’  of  overbreadth  analysis  where  the  parties  fail  to  describe  the  instances  of 

arguable overbreadth of the contested law.” Id. (citation omitted). 

        The  Defendants  maintain  that  the  Plaintiffs  lack  standing  to  bring  a  facial 

overbreadth claim.7 See Republican Party of Minn., Third Cong. Dist. v. Klobuchar, 381 F.3d 

785, 792 (8th Cir. 2004) (affirming dismissal of First Amendment facial overbreadth claim 

“for  lack  of  standing,  and  therefore  lack  of  subject  matter  jurisdiction”).  “[T]he  facial 

overbreadth doctrine ‘is a departure from traditional rules of standing,’ such that a party 

whose  own  expressive  conduct  may  be  unprotected  is  allowed  to  assert  the  First 

Amendment rights of others not before the court....” Id. at 792 (citations omitted). “For a 

federal court to entertain a facial challenge pursuant to the First Amendment overbreadth 

doctrine,  ‘[t]here  must  be  a  realistic  danger  that  the  statute  itself  will  significantly 

compromise recognized First Amendment protections of parties not before the [c]ourt.’” 

Josephine Havlak, 864 F.3d at 912 (citing Jacobsen v. Howard, 109 F.3d 1268, 1274 (8th Cir. 

1997) (quoting Bd. of Airport Commʹrs of L.A. v. Jews for Jesus, Inc., 482 U.S. 569, 574 (1987))). 


                                                         
7  The  Defendants  first  challenged  the  Plaintiffs’  standing  to  bring  a  facial  overbreadth 
claim in the Attorney General’s reply brief. [ECF No. 57 at 4–6.] While courts typically do 
not  consider  new  arguments  raised  in  reply  briefs,  standing  is  a  jurisdictional 
requirement,  and  “any  party  or  the  court  may,  at  any  time,  raise  the  issue  of  subject 
matter  jurisdiction.”  Gray  v.  City  of  Valley  Park,  Mo.,  567  F.3d  976,  982  (8th  Cir.  2009) 
(citation  omitted).  Moreover,  the  Plaintiffs  only  raised  the  possibility  of  a  facial 
overbreadth challenge in their response brief—the Second Amended Complaint does not 
mention such a challenge. 


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The Plaintiffs “bear[] the burden to demonstrate that [they have] standing to bring a facial 

overbreadth  claim.”  Id.  (citing  Klobuchar,  381  F.3d  at  791).  They  “must  identify  a 

significant  difference  between  [their]  claim  that  the  statute  is  facially  invalid  on 

overbreadth  grounds,  and  [their]  claim  that  it  is  unconstitutional  as  applied  to  his 

particular activity.” Id. (citations and brackets omitted). “It is inappropriate to entertain 

a facial overbreadth challenge when the plaintiff fails to adduce any evidence that third 

parties will be affected in any manner differently from herself.” Id. (citations omitted). 

       The Defendants assert that the Plaintiffs lack standing to bring a facial overbreadth 

claim because they have not met their burden of identifying how Minn. Stat. § 609.215, 

subd.  1  affects  third  parties  differently  from  them.  The  Court  agrees.  The  Second 

Amended Complaint focuses on how Minn. Stat. § 609.215, subd. 1 affects the Plaintiffs. 

(See, e.g., 2d Am. Compl., ¶13 (“FEN is therefore threatened with prosecution every time 

its volunteers talk with anyone in Minnesota about legal method of inducing their own 

death,”); id., ¶14 (“FEN and its Exit Guides are subject to conviction under Minnesota’s 

prohibition on speech that ‘enables’ a ‘suicide’…”).) To the extent the Second Amended 

Complaint  references  third  parties,  it  does  not  assert  that  the  statute  affects  them 

differently  from  the  Plaintiffs. (See,  e.g., id., ¶14 (“FEN and its Exit Guides – or even a 

librarian or a bookstore sales clerk – may be convicted solely for informing a ‘targeted’ 

person  where  to  find  the  same  information  himself  or  herself.”).  As  such,  the  Second 




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Amended Complaint fails to allege the Plaintiffs’ standing to assert a facial overbreadth 

challenge to Minn. Stat. § 609.215, subd. 1.8 

       At the hearing on the instant motions, the Plaintiffs’ counsel maintained that the 

Plaintiffs have standing to assert a facial challenge, and that an overbreadth challenge is 

just a subset of a facial challenge. But they offer no legal authority to support the position 

that  their  general  facial  challenge  to  the  statute  means  they  do  not  need  to  satisfy  the 

standing requirements to bring a facial overbreadth challenge. Because the Plaintiffs fail 

to allege facts indicating that Minn. Stat.  609.215, subd. 1 affects third parties differently 

from them, they lack standing to bring a facial overbreadth claim. See Josephine Havlak, 

864 F.3d at 912; Harrington v. Strong, No. 8:18CV383, 2019 WL 359992, at *13 (D. Neb. Jan. 

29, 2019) (dismissing facial overbreadth claim for lack of standing where plaintiffs “made 

no  attempt  to  allege  any  realistic  scenarios  in  which  [the  statute]  would  ‘compromise 

recognized First Amendment protections of parties not before the court.’” (citing Josephine 

Havlak, 864 F.3d at 912)). Thus, to the extent the Plaintiffs’ challenge to the statute is based 

on  the  facial  overbreadth  challenge,  it  is  dismissed  for  lack  of  jurisdiction  due  to  the 

Plaintiffs’ absence of standing. See Josephine Havlak, 864 F.3d at 912.  

                                                         
8  The Plaintiffs do not challenge the constitutionality of Minn. Stat. § 609.215, subd. 1, as 


applied to themselves. Cf. Josephine Havlak, 864 F.3d at 912 (finding no standing to bring 
facial  overbreadth  challenge  because  plaintiff  “presents  no  allegedly  unconstitutional 
scenarios affected by the Village ordinance beyond her own commercial photography,” 
then  considering  a  constitutional  challenge  of  the  ordinance’s  application  to  plaintiff). 
While the Plaintiffs’ original complaint included an “as applied” challenge, they chose to 
omit this claim when they amended their complaint. 


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          Thus, as set forth above, the Plaintiffs have no standing to bring a facial overbreadth 

challenge to Minn. Stat. § 609.215, subd. 1, but they do have standing to bring a facial 

challenge to the statute against the Defendants. Therefore, the Court considers further 

arguments regarding the facial challenge claim.  

III.      Ripeness 

          County Attorney Fossum argues that this Court lacks subject matter jurisdiction 

because the claims are not ripe for judicial review. A claim is not ripe for adjudication if 

the alleged injury “rests upon contingent future events that may not occur as anticipated, 

or  indeed  may  not  occur  at  all.”  281  Care  Comm.  I,  638  F.3d  at  631  (citation  omitted). 

Fossum  contends  that  the  claims  are  not  ripe  because  the  Plaintiffs  have  not  been 

threatened with prosecution for violating the statute. Yet, as set forth above, the Second 

Amended Complaint alleges that Fossum and Backstrom have prosecuted violations of 

the challenged statute in the past. (2d Am. Compl., ¶7.) Neither Fossum nor Backstrom 

dispute that their counties plan to enforce the statute, or that such enforcement would 

cause injury to FEN. Moreover, as in 281 Care Committee I, the alleged injury is not based 

solely on speculation about a particular future prosecution. “Rather, the injury is speech 

that  has  already  been  chilled  and  speech  that  will  be  chilled  …  because  of  the  very 

existence  of”  the  Minnesota  Supreme  Court’s  interpretation  of  Minn.  Stat.  § 609.215, 

subd. 1 in Melchert‐Dinkel. 281 Care Committee I, 638 F.3d at 631 (holding plaintiff’s claim 

was ripe where the issue presented requires no further factual development, is largely a 



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legal question, and chills allegedly protected First Amendment expression). The Second 

Amended Complaint alleges that FEN and its Exit Guides engage in self‐censorship as a 

result  of  the  Minnesota  Supreme  Court’s  narrowing  interpretation  of  the  challenged 

statute. (See, e.g., Compl., ¶13 (“FEN is therefore threatened with prosecution ever time 

its volunteers talk with anyone in Minnesota about legal methods of inducing their own 

death”).) The Court therefore rejects Fossum’s ripeness argument and finds that the claim 

is ripe for review. 

IV.      Rooker–Feldman Doctrine 

         Fossum  also  argues  that  the  Rooker–Feldman  doctrine  precludes  the  Court  from 

exercising jurisdiction in this action. The Rooker–Feldman doctrine “recognizes that, with 

the  exception  of  habeas  corpus  petitions,  lower  federal  courts  lack  subject  matter 

jurisdiction over challenges to state court judgments.” Simes v. Huckabee, 354 F.3d 823, 827 

(8th Cir. 2004) (citation omitted). The doctrine precludes district courts from obtaining 

jurisdiction over the case styled as a direct appeal, Rooker v. Fidelity Trust Co., 263 U.S. 

413,  416  (1923),  as  well  as  claims  that  are  “inextricably  intertwined”  with  state  court 

decisions. Dist. of Columbia Ct. of App. v. Feldman, 460 U.S. 462, 487 (1983). The Supreme 

Court has held that “a state‐court decision is not reviewable by lower federal courts, but 

a statute or rule governing the decision may be challenged in a federal action.” Skinner v. 

Switzer, 562 U.S. 521, 532–33 (2011). Where a federal plaintiff presents “some independent 

claim,” even if that claim “denies a legal conclusion that a state court has reached in a 



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case to which he was a party,” the court has jurisdiction and state law determines whether 

the  defendant  prevails  under  principles  of  preclusion.  Exxon  Mobil  Corp.  v. Saudi  Basic 

Indus.  Corp.,  544  U.S.  280,  293  (2005)  (citation  omitted);  see  Davani  v.  Virginia  Depʹt  of 

Transp., 434 F3d 712, 718 (4th Cir. 2006) (under Exxon, if a state‐court loser who files suit 

in federal district court “is not challenging the state‐court decision, the Rooker–Feldman 

doctrine does not apply”). 

        Fossum contends that the Rooker–Feldman doctrine applies because the Plaintiffs 

seek  relief  that  directly  contradicts  the  FEN  state  action  decisions  that  Minn.  Stat. 

§ 609.215,  subd.  1  is  constitutional.  In  response,  the  Plaintiffs  acknowledge  that  their 

original  Complaint  ran  afoul  of  the  Rooker–Feldman  doctrine  because  it  sought  a 

declaration holding that FEN’s conviction under the challenged statute violated the First 

Amendment, and voiding FEN’s conviction. [ECF No. 52 at 4; see ECF No. 1 at 5.] But the 

Plaintiffs omitted this “as applied” challenge when they amended their complaint. They 

now assert only a facial challenge to the statute, and seek an injunction prohibiting future 

enforcement of the statute to the extent it is held unconstitutional.9 (2d Am. Compl. at 6–

7.) Because the Plaintiffs’ facial challenge to Minn. Stat. § 609.215 subd. 1 does not seek 

relief for the injury caused by the FEN state action, the Rooker‐Feldman doctrine does not 



                                                         
9 Fossum filed a Notice of No Reply in response to the Plaintiffs’ opposition to his motion 


to  dismiss.  [ECF  No.  55.]  When  questioned  about  the  significance  of  this  notice  at  the 
hearing, Fossum’s counsel responded that he believed the Rooker–Feldman doctrine still 
applied, but provided no additional legal authority to support this position. 


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apply. See Davani, 434 F.3d at 719 (rejecting Rooker–Feldman argument where plaintiff’s 

federal  claims  did  not  challenge  the  state  decision  and  were  therefore  “independent” 

from that decision). 

V.      Collateral Estoppel 

        The Court finally turns to the argument that the Plaintiffs’ claims are barred by 

collateral estoppel. Federal courts must accord the same preclusive effect to a state court 

judgment  that  it  would  receive  in  the  courts  of  the  state  from  which  the  judgment 

emerged.  28  U.S.C.  §  1738;  Knutson  v.  City  of  Fargo,  600  F.3d  992,  996  (8th  Cir.  2010). 

Minnesota  rules  of  collateral  estoppel  apply  in  federal  court  cases  involving  a  prior 

Minnesota state court judgment. See Laase v. County of Isanti, 638 F.3d 853, 856 (8th Cir. 

2011). Those rules are well established: “[U]nder Minnesota law, collateral estoppel, or 

issue preclusion, precludes the relitigation of issues that are identical to issues previously 

litigated and that were necessary and essential to the prior judgment.” Wong v. Minnesota 

Depʹt of Human Servs., 820 F.3d 922, 933 (8th Cir. 2016) (citation omitted). Courts “do not 

apply  collateral  estoppel  rigidly,  but  focus  on  whether  an  injustice  would  be  worked 

upon the party against whom the estoppel is urged.” Mach v. Wells Concrete Prods. Co., 

866 N.W.2d 921, 927 (Minn. 2015) (citation and internal quotations omitted). The party 

asserting  collateral  estoppel  “has  the  burden  to  establish  that  the  issue  was  actually 

presented  and  necessarily  determined  in  the  earlier  action.”  Id.  (citation  and  internal 

quotation marks omitted). Under Minnesota law, collateral estoppel applies when: “(1) 



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the issue was identical to one in a prior adjudication; (2) there was a final judgment on 

the  merits;  (3)  the  estopped  party  was  a  party  or  in  privity  with  a  party  to  the  prior 

adjudication; and (4) the estopped party was given a full and fair opportunity to be heard 

on  the  adjudicated  issue.”  Id.  (citations  omitted).  The  parties  dispute  three  of  these 

prongs.10 

       A.      Identity of Issues 

       For  collateral  estoppel  to  apply,  the  issue  must  be  identical  to  one  in  a  prior 

adjudication. Mach, 866 N.W.2d at 927. The issue in this case is “the facial constitutionality 

of Minn. Stat. § 609.215, subd. 1 … under the First Amendment,” since the word “assists” 

“has been authoritatively interpreted under Minnesota law” to “criminalize[] … ‘speech’ 

that ‘enables’ a ‘suicide.’” (2d Am. Compl. ¶¶1, 2.) The Defendants claim that the issue 

of a facial challenge was decided in the FEN state action, while the Plaintiffs disagree, 

contending that the state courts “decided only whether they were bound by the ‘enables’ 

language of the Minnesota Supreme Court in Melchert‐Dinkel, 844 N.W.2d 13.” (Pls.’ Resp. 

Br. at 17; see id. at 19–20 (stating that the issue before the courts in the FEN state action 

was “not the facial constitutionality of the Minnesota Statute, but whether Melchert‐Dinkel 

precluded any consideration of that issue”).) 




                                                        
  The parties do not dispute that a final adjudication on the merits occurred in the FEN 
10


state action. 


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        The Plaintiffs are in error. There is no question that  the issue raised in the FEN 

state action is the same as the issue raised here. In the FEN state action, the court explicitly 

addressed  the  following  question  of  law:  “Is  Minn.  Stat.  §  609.215,  subd.  1,  facially 

unconstitutional under the First Amendment?” Final Exit Network, 889 N.W.2d at 302; see 

id. at 303 (holding that “[t]he statute’s ‘assists’ provision … survives strict scrutiny and 

Final  Exit’s  facial  challenge  to  the  statute.”).  The  Plaintiffs  raise  this  same  issue  in  the 

instant action. (See 2d Am. Compl. ¶1.) The Plaintiffs here bring only a facial challenge to 

the  statute,  and  because  the  FEN  state  action  addressed  that  identical  issue,  the  first 

element of collateral estoppel is satisfied.11  

        B.      Identity of Parties 

                1.      Mutuality 

        Collateral estoppel also requires that “the estopped party [be] a party or in privity 

with a party to the prior adjudication.” Mach, 866 N.W.2d at 927. The Plaintiffs contend 

that the Attorney General cannot benefit from collateral estoppel because he was not a 

party to the FEN state action. In support, they cite Hauschildt v. Beckingham, which states 


                                                          
11 Were the Court presented with an as‐applied challenge, of course, the analysis would 
be different. The Plaintiffs have dropped any as‐applied challenge, and present only a 
facial  challenge,  the  exact  issue  that  was  fully  litigated  before  the  Minnesota  Court  of 
Appeals  in  the  FEN  state  action.  It  was  FEN’s  decision  to  bring  both  an  as‐applied 
challenge and a facial challenge to the statute in state court. They could have brought the 
facial challenge to this Court at any time prior to the final adjudication on the merits in 
state court, but they did not. Their pursuit of the challenge in state court—and the state 
court’s final decision—results in a collateral estoppel bar here. 


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that “[f]undamental to both [res judicata and collateral estoppel] doctrines is that a ‘right, 

question or fact distinctly put in issue and directly determined by a court of competent 

jurisdiction … cannot be disputed in a subsequent suit between the same parties or their 

privies.” 686 N.W.2d 829, 837 (Minn. 2004) (citation omitted, emphasis added). But in that 

case,  the  parties  were  the  same  in  the  prior  adjudication  and  current  application  of 

collateral estoppel. See id. Thus, Hauschildt did not address whether mutuality of parties 

is  required  for  collateral  estoppel.  In  Aufderhar  v.  Data  Dispatch,  Inc.,  the  Minnesota 

Supreme Court held that Minnesota courts do not require mutuality between the parties 

before invoking collateral estoppel. 452 N.W.2d 648, 650 (Minn. 1990). Moreover, courts 

applying Minnesota law continue to follow this rule after Hauschildt. See, e.g., Pope v. Fed. 

Home Loan Mortg. Corp., 561 F. Appʹx 569, 573 (8th Cir. 2014) (“[U]nder Minnesota law, 

Freddie Mac may invoke the doctrine of issue preclusion for issues on which the Popes 

have previously fully litigated and lost … even though Freddie Mac was not a party to 

the  prior  litigation.”);  State  v.  Alvarez,  820  N.W.2d  601,  626  (Minn.  Ct.  App.  2012) 

(“Minnesota  does  not  require  mutuality  of  parties  ‘as  a  predicate  to  the  invocation  of 

collateral estoppel,’ provided the other elements of the defense have been met) (quoting 

Aufderhar, 452 N.W.2d at 650). Thus, the Attorney General may rely on collateral estoppel 

even though he was not a party to the FEN state action. 




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               2.      Identity of Parties 

       The Defendants maintain that the “identity of parties” prong of collateral estoppel 

is satisfied because the Plaintiffs were either a party or were in privity with a party to the 

FEN state action. FEN was a party to the FEN state action, and thus clearly satisfies this 

prong.  

       Grossman and Schindler, however, were not a party in the FEN state action, and 

the question is whether they are in privity with FEN. “Privity exists where a non‐partyʹs 

‘interests  are  represented  by  a  party  to  the  action,’  or  where  a  party  is  ‘otherwise  so 

identified in interest with another that he represents the same legal right’ with respect to 

a previously asserted claim.” Anderson v. City of St. Paul, Minn., 849 F.3d 773, 778 (8th Cir. 

2017) (quoting Rucker v. Schmidt, 794 N.W.2d 114, 118 (Minn. 2011)). “It is not enough that 

two individuals both wish to prevail in litigation; their legal interests must be aligned to 

the point of being ‘similarly affected by the outcome of a legal proceeding.’” Id. (quoting 

Rucker,  794  N.W.2d  at  120).  “[P]rivity  has  no  per  se  definition  and  that  privity 

determinations ‘require[] a careful examination of the circumstances of each case.’” Id. 

(quoting Rucker, 794 N.W.2d at 118). 

       Grossman and Schindler are volunteer Exit Guides for FEN, but were not parties 

to  the  FEN  state  action.  In  this  action,  FEN,  Grossman,  and  Schindler  are  being 

represented by Robert Rivas, FEN’s general counsel. Mr. Rivas represented FEN in the 




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FEN state action.12 See Final Exit Network, 2013 WL 5418170 (identifying Rivas as “General 

Counsel, Final Exit Network, Inc.”); Nonprime, LLC v. Walser Auto. Grp., LLC, No. A09‐

1731,  2010  WL  2363331,  at  *7  (Minn.  Ct.  App.  June  15,  2010)  (“viewing  counselʹs 

representation as an additional circumstance that supports” the conclusion that parties 

were in privity). Courts have held that “if there is no conflict between the organization 

and  its  members,  and  if  the  organization  provides  adequate  representation  on  its 

members’  behalf,  individual  members  not  named  in  a  lawsuit  may  be  bound  by  the 

judgment won or lost by their organization.” Tahoe‐Sierra Pres. Council, Inc. v. Tahoe Regʹl 

Planning  Agency,  322  F.3d  1064,  1082  (9th  Cir.  2003)  (individual  members  of  property 

owners association precluded from bringing subsequent action because association had 

already litigated the same claims in earlier suit); see In re Pensioners & Beneficiaries of Former 

Minneapolis Police Relief Assʹn, No. A13‐1055, 2014 WL 274096, at *5 (Minn. Ct. App. Jan. 

27, 2014) (finding MPRA members were in privity with MPRA entity where members 

revealed no conflict in interests among the MPRA members or between the MPRA entity 

and its members); M.O.C.H.A. Society, Inc. v. City of Buffalo, 689 F.3d 263, 285 (2d Cir. 2012) 

(“Despite the absence of complete privity between the named plaintiffs in the two actions, 

‘sufficient identity exists between the plaintiffs’ for the district court to apply collateral 

estoppel.”);  see  generally  Taylor  v.  Sturgell,  553  U.S.  880,  906  (2008)  (“preclusion  is 



                                                         
   The  Plaintiffs  dispute  the  Attorney  General’s  assertion  that  FEN  represented  Exit 
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Guides in the FEN state action. (Pls.’ Resp. Br. at 22‐24.) 


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appropriate only if the putative agentʹs conduct of the suit is subject to the control of the 

party who is bound by the prior adjudication”); 18A Charles Alan Wright et al., Fed. Prac. 

&  Proc.  §  4456  (2d  ed.)  (explaining  that  courts  have  “allow[ed]  representation  by  an 

association  to  bind  members  in  matters  that  do  not  center  on  relationships  within  or 

through the association”).  

       The Court finds that Grossman and Schindler are “so identified in interest” with 

FEN  that  FEN  “represents  the  same  legal  right  with  respect  to  [the]  claim  previously 

asserted” in the FEN state action. Anderson, 849 F.3d at 778 (citation and quotation marks 

omitted). There is no dispute that the legal interests of FEN, Grossman and Schindler are 

aligned as they are “similarly affected by the outcome of a legal proceeding.” Id. (citation 

omitted). No conflict exists between FEN on the one hand, and Grossman or Schindler 

on the other. As such, Grossman and Schindler are in privity with FEN as it relates to the 

judgment in the FEN state action.  

       C.      Opportunity to Be Heard 

       Finally, for collateral estoppel to apply, the estopped party must have been given 

a full and fair opportunity to be heard on the adjudicated issue. Mach, 866 N.W.2d at 927. 

The  issue  on  which  collateral  estoppel  is  to  be  applied  “must  be  the  same  as  that 

adjudicated  in  the  prior  action  and  it  must  have  been  necessary  and  essential  to  the 

resulting  judgment  in  that  action.”  Hauschildt,  686  N.W.2d  at  837  (citations  omitted). 




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Moreover, the issue “must have been distinctly contested and directly determined in the 

earlier adjudication for collateral estoppel to apply.” Id. at 837–38.  

       The  Plaintiffs  acknowledge  that  the  issue  may  have  been  “distinctly  contested” 

because it was briefed and argued in the FEN state action. (Pls.’ Resp. Br. at 20.) However, 

they  assert  that  collateral  estoppel  does  not  apply  because  the  issue  was  not  “directly 

determined” by the state courts. (Id.) According to the Plaintiffs, the state courts decided 

they were bound by Melchert‐Dinkel, and thus, did not address the facial constitutionality 

of the “enables” clause first created in Melchert‐Dinkel. (Id. at 17.) The Plaintiffs cite no 

legal authority for their assertion that collateral estoppel should not apply because a state 

court decided an issue by applying the binding legal  precedent. This Court has found 

none to support this position. See generally Morgan v. United States Parole Commʹn, 304 F. 

Supp. 3d 240, 251 (D.D.C. 2016) (holding that state court decision satisfied the fairness 

element  of  issue  preclusion,  noting  “this  Court  sees  nothing  inherently  unfair  or 

untoward about the application of past precedent to address a constitutional question; 

after all, adherence to precedent is venerated practice of the state and federal courts.”) 

(citing Kimble v. Marvel Entmʹt, LLC, 135 S. Ct. 2401, 2409 (2015) (“Stare decisis—in English, 

the idea that today’s Court should stand by yesterday’s decisions—is ‘a foundation stone 

of the rule of law.’”)). The Court finds that FEN was given a full and fair opportunity to 

be heard  on  the  issue  at hand in the FEN state  action, and therefore, that  FEN’s facial 




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challenge claims against the Defendants are barred by collateral estoppel.13 As such, the 

case must be dismissed. 

                                         CONCLUSION 

       Based on the foregoing and on all the files, records, and proceedings herein, the 

Attorney General’s motion to dismiss [ECF No. 22] is GRANTED, Backstrom’s motion to 

dismiss  [ECF  No.  34]  is  GRANTED,  and  Fossum’s  motion  to  dismiss  [ECF  No.  42]  is 

GRANTED.  Accordingly,  IT  IS  HEREBY  ORDERED  THAT  this  action  be  DISMISSED 

WITH PREJUDICE. 

        

LET JUDGMENT BE ENTERED ACCORDINGLY. 

       
Dated: February 22, 2019                                 BY THE COURT: 
       
                                                         s/Nancy E. Brasel                    
                                                         Nancy E. Brasel 
                                                         United States District Judge 




                                                        
13 Because the Court finds that the Plaintiffs’ claims must be dismissed based on lack of 

standing or collateral estoppel, it need not address the Defendants’ remaining arguments 
regarding the official‐capacity § 1983 claim and the merits of the facial challenge. 


                                                 37 
